Case 6:21-cr-00064-PGB-GJK Document 44 Filed 07/26/21 Page 1 of 3 PageID 136




                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION

 UNITED STATES OF AMERICA

 v.                                        CASE NO. 6:21-cr-64-PGB-GJK

 TODD ENGLES

                   GOVERNMENT’S DISCOVERY NOTICE

      The United States, in compliance with paragraph I(Y) of this Court’s

Scheduling Order (Doc.30) (the “Scheduling Order”), hereby notifies the Court as

follows:

                                      NOTICE

      As of the date of filing this Notice, the United States has either provided to

defense counsel or made available for inspection all discovery materials presently in

the possession of government counsel that fall within Fed. R. Crim. P. 16 and/or the

Scheduling Order, including, but not limited to those items set forth in Paragraphs

I(B) through I(W) of the Scheduling Order. The United States recognizes its

continuing duty to disclose discovery that comes into counsel’s possession after the
Case 6:21-cr-00064-PGB-GJK Document 44 Filed 07/26/21 Page 2 of 3 PageID 137




date of this filing and will comply with that duty in accordance with the Scheduling

Order.

                                       Respectfully submitted,

                                       KARIN HOPPMAN
                                       Acting United States Attorney


                                  By: /s/ Jennifer M. Harrington
                                      JENNIFER M. HARRINGTON
                                      Assistant United States Attorney
                                      Florida Bar No. 0117748
                                      400 W. Washington Street, Suite 3100
                                      Orlando, Florida 32801
                                      Telephone: (407) 648-7500
                                      Facsimile:     (407) 648-7643
                                      E-mail: Jennifer.Harrington2@usdoj.gov




                                          2
Case 6:21-cr-00064-PGB-GJK Document 44 Filed 07/26/21 Page 3 of 3 PageID 138




U.S. v. TODD ENGLES                      Case No. 6:21-cr-64-PGB-GJK

                            CERTIFICATE OF SERVICE

       I hereby certify that on July 26, 2021, I electronically filed the foregoing with

the Clerk of the Court by using the CM/ECF system which will send a notice of

electronic filing to the following:

              Ali Kamalzadeh, Esquire.


                                          /s/Jennifer M. Harrington
                                          JENNIFER M. HARRINGTON
                                          Assistant United States Attorney
                                          Florida Bar No. 0117748
                                          400 W. Washington Street, Suite 3100
                                          Orlando, Florida 32801
                                          Telephone: (407) 648-7500
                                          Facsimile:     (407) 648-7643
                                          E-mail: Jennifer.Harrington2@usdoj.gov




                                            3
